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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v                                      )          CR. NO. 2:94-CR-62-T
                                              )
DONALD MINNIFIELD                             )

                RECOMMENDATION OF THE MAGISTRATE JUDGE

       On January 10, 2005, the defendant filed a pro se motion for return of property.

The government has responded to the motion, and the court heard argument on the motion

on June 24, 2005. Based on the pleadings, the evidentiary materials and the argument,

the court concludes that Minnifield’s motion is due to be denied.

       Minnifield contends that $10,000.00 in cash, $130,000.00 in cash and the real

property at 2642 Norwich Drive, Montgomery, Alabama should be returned to him in

accordance with the prior orders of this court. He further claims that none of the property

was ever proven to be the proceeds of illegal drug transactions. Minnifield misconstrues

the prior orders and proceedings of this court.

       On January 23, 1995, the court ordered that the $10,000.00 which was seized at

Minnifield’s house on Norwich Drive be forfeited to the United States. In that same order

(attached to doc. # 1847) the court also ordered that the United States release to

Minnifield the Norwich Drive property and if necessary file a release of Lis Pendens.

The United States filed that release. See Attachment 2 to doc. # 1847. Accordingly,

Minnifield’s claims regarding the return of the $10,000.00 is due to be denied. His claim
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regarding the Norwich Drive property is due to be denied as moot.

       Minnifield’s claim about the $130,000.00 is belied by the records of this court. On

December 29, 1994, the United States filed a complaint for forfeiture as to $130,052.00 in

US currency. Minnifield, represented by counsel, subsequently filed a claim for that

property and an answer. See United States of American v. One Hundred Thirty Thousand

Fifty-Two Dollars ($130,052) in United States Currency, 2:94-cv-01654-D (M.D. Ala.).

On November 11, 1995, the court granted summary judgment in favor of the United

States and ordered that the currency be forfeited to the United States. After Minnifield

filed a motion to alter or amend, the court entered a corrected judgment and final order of

forfeiture on December 7, 1995. The judgment of forfeiture was affirmed on appeal on

January 23, 1997. Minnifield’s motion with respect to this currency is due to be denied.

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that

Minnifield’s motion for return of $10,000.00 and $130,052.00 in United States currency

be denied and that his motion for return of the real property at Norwich Drive be denied

as moot. It is further

       ORDERED that the parties are DIRECTED to file any objections to the said

Recommendation on or before July 8, 2005. Any objections filed must specifically

identify the findings in the Magistrate Judge's Recommendation objected to. Frivolous,

conclusive or general objections will not be considered by the District Court. The parties

are advised that this Recommendation is not a final order of the court and, therefore, it is

not appealable.

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       Failure to file written objections to the proposed findings and recommendations in

the Magistrate Judge's report shall bar the party from a de novo determination by the

District Court of issues covered in the report and shall bar the party from attacking on

appeal factual findings in the report accepted or adopted by the District Court except upon

grounds of plain error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir.

1982). See Stein v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also

Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981, en banc), adopting as binding

precedent all of the decisions of the former Fifth Circuit handed down prior to the close of

business on September 30, 1981.

       Done this 24th day of June, 2005.



                                        /s/Charles S. Coody
                                   CHARLES S. COODY
                                   CHIEF UNITED STATES MAGISTRATE JUDGE




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